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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                    8:14CR409

       vs.
                                                                       ORDER
DILANG DAT,

                       Defendant.


       This matter is before the Court on the defendant, Dilang Dat’s (Dat), Motion for Copies
of his Sentencing Transcripts, Plea Agreement, Sentencing Memorandum, Statement of Reasons,
Indictment, Superseding Indictment, and “all related notes and files” in the above-captioned
case. (Filing No. 333). The defendant requests that the Court order attorney, Kyle Allen (Allen)
to provide the aforementioned copies, or, that the Court itself send copies of documents
unavailable to attorney Allen to the defendant. The defendant requests a waiver of fees
associated with the costs of the copies and transcripts.
       The Court notes that the defendant was sentenced the Superseding Indictment in this case
on June 20, 2016 (Filing Nos. 262 and 268), and that no appeal was timely filed. The defendant
admits that he has had contact with his prior attorney in an effort to obtain the requested
materials, however, the Court will not order previously retained counsel to provide Dat with all
of the copies requested in the motion. Additionally, the defendant submits to the Court that he is
in need of copies and transcripts in this case at no cost in order to research and file a Motion to
Vacate, Set Aside or Correct Sentence pursuant to title 28 U.S.C. § 2255, the Court is not
obligated to provide free copies. Furthermore, no transcripts of hearings were prepared in this
defendant’s case. Accordingly, the Court will deny the motion as to all respects. The defendant
is, of course, free to request copies of filings and to pay the costs of the same. Transcripts will
not be prepared without completion of a request for transcript form, and prepayment for the
requested transcript(s). The defendant must request copies of specific documents in the case in
order for the paid copies to be provided. The Clerk’s Office shall not be tasked with searching
for “all related notes and files.” The defendant may not obtain a copy of the Statement of
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Reasons without a Court Order, as the document is sealed, and at this time, the Court does not
find sufficient reason to provide the defendant with the sealed document. Accordingly,


       IT IS ORDERED:
       1. The defendant’s Motion for Copies [333] is denied in all respects.


       Dated this 2nd day of June, 2017.

                                                    BY THE COURT:

                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge




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